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   IN THE UNITED STATES DISTRICT COURT FOR
   THE EASTERN DISTRICT OF NEW YORK


   ILYA AZARYEV

   PLAINTIFF,                                     Cas
                                                     tV21- 3909
                     VS.
                                                                                          KUNTZ,J
   THE CITY OF NEW YORK,NEW                     VERIFIED COMPLAINT AND                 13T      TLf T
   YORK POLICE DEPARTMENT,                      JURY TRIAL DEMAND                              '
   NEW YORK CITY
   DEPARTMENT OF
   CORRECTION AND DOE #1-5

   DEFILNDANTS                                                                  I!   in




                                                                       PROSE OFFICE
Comes Now ILYA AZARYEV (Proceeding Pro se, hereafter Plaintiff) who files this verified

Complaint for Declaratory and injunctive Relief against Defendants; THE CITY OF NEW

YORK,NEW YORK POLICE DEPARTMENT,DEPARTMENT OF CORRECTION,and

states as follows:


                                         INTRODUCTION


    1. This is a civil rights action brought by Plaintiff ILYA AZARYEV to seek relief for the

       Defendants' violations of his rights secured by the Civil Rights Act of and 1871,42 U.S.C.

       § 1983 and the rights secured by the Fourth, Fifth and Fourteenth Amendments to the

       United States Constitution and the rights secured under the Constitution of the State of

       New York, Article I, Sections II and 12 and the common law of the State of New York.

   2. The claims arise from a September 8, 2019 incident in which Officers of the New York

        City Police Department ("NYPD"), acting under color of state law, intentionally and
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     willfully subjected plaintiff to, inter alia, false arrest, illegal search and seizure, and

     unlawful detention beyond legally permissible time.

 3. Plaintiff seeks monetary damages (special, compensatory, and punitive) against

     defendants, as well as an award of costs and attorneys' fees, and such other and further

     relief as the Court deems just and proper.

                                        JURISDICTION


 4. This action is brought pursuant to :2'8 USC §1331, 42 USC §1983, and the Fourth and

     Fourteenth Amendments to the United States Constitution.

                                               VENUE


 5. Venue is laid within the United States District Court for the Eastern District of New York

     in that Defendants are located within, and a substantial part ofthe events giving rise to the

     claim occurred within the boundaries of the Eastern District of New York.




                     EXHAUSTION OF ADMINISTRATIVE REMEDIES


 6. This Court also should not require Plaintiff to exhaust his administrative remedies. First,

     the Supreme Court has recognized that courts should not require exhaustion where there is

     an unreasonable or indefinite time-frame for administrative action.

  7. Exhaustion is thus not appropriate where plaintiff"may suffer irreparable harm if unable

     to secure immediate judicial consideration of his claim." Id. at 147.

  8. Second, exhaustion is not required where the Plaintiff challenges the constitutionality of

     the agency procedure itself, "such that the question of the adequacy of the administrative

     remedy is for all practical purposes identical with the merits of the plaintiffs lawsuit."

     McCarthy,503 U.S. at 148 (internal brackets omitted).
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                                       PARTIES


 9. Plaintiff ILYA AZARYEV a citizen of the United States and a resident of New York,&

    the plaintiffs principal office's are located in 710 Avenue S Suite A6 Brooklyn New York

    11223.


 10. Defendant City of New York is a municipal corporation duly incorporated and authorized

    under the laws ofthe State of New York pursuant to § 431 ofits Charter. The City of New

    York is authorized under the laws ofthe state ofNew York to maintain a police department,

    the New York Police Department ("NYPD") which acts as its agent in the area of law

    enforcement and for which it is ultimately responsible. The City assumes the risks

    incidental to the maintenance ofa police force and the employment of police officers

 11. The New York City Department of Correction(NYCDOC)is the branch ofthe municipal

    government ofNew York City responsible for the custody, control, and care ofNew York

    City's imprisoned population.

 12. All other individual defendants ("the officers"), including John Doe #1-2, individuals

    whose names are currently unknown to plaintiff, are employees ofthe NYPD.

                                    NOTICE OF CLAIM

  13. Within 90 days ofthe incident, plaintiff filed written Notice of Claim with the New York

     City Office of the Comptroller. Over 30 days have elapsed since the filing of that notice,

     and this matter has not been settled or otherwise disposed of.




                             FACTUAL ALLEGATIONS

  14. On September 6th 2019, Plaintiff called 911 to report a grand larceny in his place of

     business in AE Security & Recovery LLC at 710 Avenue S Ste A6 Brooklyn NY. AE
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     Security & Recovery LLC DBA ADDAM BUSINESS CONSULTANTS,LLC is founded
     by Plaintiff and provides assistance and offer quick
     bail bond service.



  15. On September 8, 2019, Officers of Defendant New York City Police Department arrived

     at Plaintiffs office and thereafter unlawfully seize plaintiffs bail bondsman shields.

  16. Defendant NYPD found a badge with plaintiffand the LT ofthe 61 Command in Brooklyn

     New York of the NYPD walk into Plaintiffs office and says yes that's him and plaintiff

     was unlawfully arrested placed in cuffs without probable cause.

  17. Officers of the New York Police Department alleged that they have a warrant and that

     Plaintiff match the description of a man who 2 months prior allegedly robbed a man who

     is a drug dealer according his affidavit in the complaint, and stated the man described is

     wanted for impersonating police officer during the commission of a robbery. The police

     officer alleged that plaintiff fits in the description.

  18. The NYPD locked Plaintiffin a holding cell and transported plaintiffto the Intemal Affairs

     Bureau(lAB)which was set up as a unit within the NYPD that investigates serious police

     misconduct as well as police corruption. Upon interrogation, the Intemal Affairs Bureau

     (lAB)found out that plaintiff was not a Police officer which devest them ofjurisdiction.

  19. Plaintiff was taking to court under handcuff without indictment and on the 2nd day in

     Central Booking the NYPD Impersonation unit came to visit Plaintiff while plaintiff was

     detained in front of his face, defendant NYPD took lAB arrest papers and stamped VOID

     on them,for the purpose of voiding the arrest to re-arresting Plaintiff.

 20. Defendant NYPD re-arrested Plaintiff while plaintiff was already detained and in lock up

     facility for two days without arraignment in violation of Plaintiffs Constitutional Rights

     for Due Process and right to council. Plaintiff was interrogated in a holding cell.
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 21. When plaintiff had reached the maximum 72-hour hold detention, defendant NYPD

    attempted to arraigned plaintiff. However, the judge heard the first arrest which is the

    voided case by lAB and issued a bail of 10k for a void arrest carried out by lAB. Plaintiff

     was never arraigned for the second arrest by the NYPD and was unlawfully detained at

    Brooklyn house detention facility. Plaintiff was being detained pretrial - in other words,

     plaintiff was awaiting trial and still legally innocent.

 22. Defendant department of correction employees allegedly responsible for continued

    incarceration of plaintiff.

 23. Plaintiff spent the next 28 days in lock up in the facility of the department of Correction.

 24. On the 6th day ofgrandjury proceedings. Plaintiffs Co-defendant(Mr. Maxim Minovsky)

     whom NYPD alleged was part ofthe Robbery, was in the same prison unit because he was

     picked up by the NYPD impersonation unit and Plaintiff by lAB.

 25. Also, in their system it did not seem plaintiff were co-defendants with Mr. Maxim

     Minovsky which causes grounds for mistrial due to inability to plot against the state or

     people devising plans to turn state for gain.

 26. Plaintiff was not appointed counsel but his co-defendant was appointed counsel to

    represent him, nor did Plaintiff waived his right to partake in a grand jury.

 27. The indictment (charge) was dismissed on May 13, 2021, for infringement of Plaintiffs

     Right to a Speedy Trial which is the main component of a Just and fair trial. It is the

     Fundamental Right ofthe Accused to be tried expeditiously without any inordinate delays

    on part ofthe Prosecution.

 28. At all times during the events described above, the defendants were engaged in a joint

     venture and formed an agreement to violate plaintiffs' rights. The individual officers
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    assisted each other in performing the various actions described and lent their physical

    presence and support and the authority oftheir office to each other during said events. They

    failed to intervene in the obviously illegal actions of their fellow officers against plaintiff.

 29. During all of the events above described, defendants acted maliciously and with intent to

    injure plaintiff.

                                             DAMAGES

 30. As a direct and proximate result of the acts of defendants, plaintiff suffered the following

    injuries and damages:


    a. Violation of his rights pursuant to the Fourth and Fourteenth Amendments to the United

      States Constitution to be free from an unreasonable search and seizure of their person;


    b. Violation of his right to Due Process of Law to speedy trial under the Fourteenth

      Amendments to the United Stated Constitution; wrongful and unlawful detention.


    c. Violation oftheir New York State Constitutional rights under Article 1, Section 12 to be

      free from an unreasonable search and seizure;


    d. Violation oftheir New York State Constitutional rights under Article 1, Section 6 to due

      process;



    e. Physical pain and suffering;


    f. Emotional trauma and suffering, including fear, embarrassment, humiliation, emotional

       distress, frustration, extreme inconvenience, anxiety;


    g. Loss of liberty
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                                FIRST CLAIM FOR RELIEF


                  42 U.S.C.§ 1983 CONSTITUTIONAL DUE PROCESS

                    (Against defendants NYPD and Correctional Service)

 31. Plaintiff repeats and re-allege by reference paragraphs 1 through above as iffully set forth

    herein.


 32. The incidents which Plaintiff was arrested occurred on September, 8 2019, while plaintiff

    is awaiting arraignment and was incarcerated for more than 30 days which violates the

    plaintiffs constitutional rights to a fast and speedy trial Title I of the Speedy Trial Act of

     1974,88 Stat. 2080 as amended August 2, 1979,93 Stat. 328, is set forth in 18 U.S.C. §§

    3161-3174.


 33. The Act establishes tune limits for completing the various stages of a federal criminal

    prosecution. The information or indictment must be filed within 30 days from the date of

    arrest or service of the summons. 18 U.S.C. § 3161(b). Trial must commence within 70

    days from the date the information or indictment was filed.

 34. The practices ofthe NYPD,and the Correctional service department caused plaintiff to be

    detained for unreasonably long periods oftime while awaiting release.

 35. Plaintiff believed that detentions of more than 72 hours would be presumptively

    unreasonable.


 36. The acts ofthe individual Defendants, under color ofstate law,in arresting Plaintiff without

    lawful justification, taken with deliberate indifference to Plaintiffs rights, and were

    designed to, and did, cause specific and serious bodily harm, pain and suffering to the

    Plaintiff in violation of his Constitutional rights as guaranteed by the Fifth and Fourteenth
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    Amendments of the United States Constitution. Through these actions, Defendants are

    liable for violation of42 U.S.C. § 1983 which prohibits the deprivation under color ofstate

    law of rights secured under the United States Constitution.

 37. As a consequence ofthe individual Defendants' actions. Plaintiff has suffered violations of

    their due process rights under the Fifth and Fourteenth Amendments. Plaintiff has fear and

    apprehension that they will, again, be subject to similar unlawful acts by Defendants.

 38. As a direct and proximate result ofthe Defendants' unlawful actions. Plaintiff has suffered,

    and will continue to suffer, damages including, physical, mental and emotional injury and

    pain, mental anguish, suffering, humiliation and embarrassment



                               SECOND CLAIM FOR RELIEF

        42 U.S.C.§ 1983 AND FOURTH AND FOURTEENTH AMENDMENTS

                                   (Against all Defendants)



 39. Plaintiff repeats and re-allege by reference paragraphs 1 through above as if fully set forth

     herein.


 40. By their conduct, as described herein, and acting under color of state law to deprive the

    Plaintiff of his rights to be free from unreasonable searches and seizures and arrest without

     reasonable suspicion or probable cause as required by the Fourth and Fourteenth

     Amendments, Defendants are liable for violation of42 U.S.C. § 1983 which prohibits the

     deprivation under color ofstate law ofrights secured under the United States Constitution.
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 41. As a direct and proximate result ofDefendants* unlawful actions. Plaintiffhas suffered,and

     will continue to suffer, damages including, physical, mental and emotional injury and pain,

     mental anguish, suffering, humiliation and embarrassment



                                THIRD CLAIM FOR RELIEF


      EXCESSIVE FORCE 42 U.S.C.§ 1983 AND FOURTH AND FOURTEENTH

                                       AMENDMENTS


                            (By PlaintifT Against all Defendants)



 42. Plaintiff repeats and re-allege by reference paragraphs 1 through above as iffully set forth

     herein.


 43. By their conduct, as described herein, and acting under color of state law to deprive the

    Plaintiff of his rights to be free from excessive force in the course of an arrest as required

     by the Fourth and Fourteenth Amendments, the individual Defendants are liable for

     violation of42 U.S.C. § 1983 which prohibits the deprivation under color of state law of

    rights secured under the United States Constitution.

 44. As a direct and proximate result of Defendants' unlawful actions. Plaintiff has suffered,

    and will continue to suffer, damages including, physical, mental and emotional injury and

     pain, mental anguish, suffering, humiliation and embarrassment.



                              FOURTH CLAIM FOR RELIEF
          MALICIOUS PROSECUTION,42 U.S.C.§ 1983 AND FOURTH AND
                              FOURTEENTH AMENDMENTS
                              (By Plaintiff Against Defendants)
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   45. Plaintiff repeats and re-allege by reference paragraphs 1 through above as iffully set forth

       herein.


   46. By their conduct, as described herein, and acting under color of state law. Defendants are

      liable to each Plaintiff under 42 U.S.C. § 1983 for the violation, of his constitutional right

      to be free from malicious prosecution under the Fourth and Fourteenth Amendments to the

       United States Constitution.


   47. Defendants' unlawful actions were done willfully, knowingly, with malice and with the

      specific intent to deprive Plaintiffs of their constitutional rights. The prosecution by

      Defendants of Plaintiff constituted malicious prosecution in that there was no basis for the

      Plaintiffs arrest, yet Defendants continued with the prosecutions, which charges were

      dismissed and were resolved in Plaintiffs favor.

   48. As a direct and proximate result of Defendants' unlawful actions. Plaintiff has suffered,

      and will continue to suffer, damages including, physical, mental and emotional injury and

       pain, mental anguish, suffering, humiliation and embarrassment



                                  FIFTH CLAIM FOR RELIEF
         DEPRIVATION OF LIBERTY UNDER 42 U.S.C.§ 1983 AND FIFTH AND
                                FOURTEENTH AMENDMENTS
                                     (Against all Defendants)

   49. Plaintiff repeats and re-allege by reference paragraphs 1 through 66 as if fully set forth

       herein.


   50. By their conduct, as described herein. Defendants are liable to each plaintiff under 42

       U.S.C. § 1983 for the violation, under color of state law, of the constitutional right to be

      free from any deprivation of liberty without due process of law under the Fifth and

       Fourteenth Amendments to the United States Constitution.
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   51. As a direct and proximate result of Defendants' unlawful actions. Plaintiff has suffered, and

       will continue to suffer, damages including, physical, mental and emotional injury and pain,

       mental anguish, suffering, humiliation and embarrassment.



                         SIXTH CLAIM FOR RELIEF(Monell Claim)

                             (Against Defendant City of New York)



   52. Plaintiff repeats and re-allege by reference paragraphs 1 through above as iffully set forth

      herein.


  53. At all relevant times herein. Defendant City of New York, acting through its NYPD,

      developed,implemented,enforced,encouraged and sanctioned de facto policies, practices,

      and/or customs exhibiting deliberate indifference to the Plaintiffs' constitutional rights

       which caused the violation ofsuch rights.

   54. Defendants' unlawful actions were done willfully, knowingly and with the specific intent

      to deprive Plaintiff of his constitutional rights under the Fourth, Fifth and Fourteenth

       Amendments to the U.S. Constitution.


   55. The constitutional abuses and violations by Defendant City of New York, through the

      actions of its Police Department and all named Defendants, were and are directly and

       proximately caused by policies, practices and/or customs developed, implemented,

      enforced, encouraged and sanctioned by Defendant City of New York, including the

      failure: (a) to adequately supervise and train its officers and agents, including the

       Defendants, thereby failing to adequately discourage further constitutional violations on

      the part of its police officers; (b) to properly and adequately monitor and discipline its
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       officers, including Defendants; and (c) to adequately and properly investigate citizen

       complaints of police misconduct, and, instead, acts of misconduct were tolerated by the

       City of New York,

   56. Upon information and belief. Defendant City ofNew York has, acting through its NYPD,

       developed, implemented, enforced, encouraged and sanctioned a de facto policy, practice,

       and! or custom of unlawfully interfering with and! or arresting, without reasonable

      suspicion or probable cause.

   57. Defendants' unlawful actions were done willfully, knowingly and with the specific intent

      to deprive Plaintiff of his constitutional rights under the Fourth, Fifth and Fourteenth

       Amendments to the U.S. Constitution.


   58. Defendants have acted with deliberate indifference to the constitutional rights of Plaintiff.

       As a direct and proximate result of the acts as stated herein by each ofthe Defendants, the

      Plaintiffs constitutional rights have been violated which has caused him to suffer physical,

       mental and emotional injury and pain, mental anguish, suffering, humiliation and

       embarrassment.


   59. Plaintiff has no adequate remedy at law and will suffer serious and irreparable harm to

      their constitutional rights unless Defendants are enjoined from continuing their unlawful

       policies, practices, and! or customs which have directly and proximately caused such

       constitutional abuses.



WHEREFORE, plaintiffs demand judgment against the defendants, jointly and severally,
as follows:
          A.       Compensatory damages in the amount of$250,000 against each defendant,
                   jointly and severally
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           B.       Awarding plaintiffs punitive damages in an amount to be determined by a
                    jury;

           C.       Awarding plaintiff reasonable attorneys' fees, costs and disbursements of
                    this action; and


           D.       Granting such other and further relief as this Court deemsjust and proper.




                                         JURY DEMAND


   Plaintiffs demand a trial by jury.

                                         VERIFICATION


  IILYA AZARYEV,the Plaintiff in the above complaint verified that the statement contained

  in this Complaint are true to the best of my knowledge. The same is true of my own

   knowledge, except as to those matters which are therein stated on information and belief,

   and, as to those matters, I believe it to be true.

   I declare (or certify) under penalty of perjury that the foregoing is true and correct.

         Respectively submitted this      13      day of       JULY        2021




                                                                                   ILYA AZ^Ve\
                                                                                       Pro'Setitigan

                                                                               AM LAW FIRM LLP
                                                                               AVENUE S SUITE A6
                                                                            LYN NEW YORK 11223
                                                                                    718.714.82021
                                                                      Subpoena@AddamIawfirm.com
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                                CERTIFICATE OF SERVICE



 I hereby certify on the      13        day of JULY               , 2021, that a true and correct

copy of the foregoing Complaint were served on the defendants by placing a copy in the United

States Postal Service, with postage prepaid, addressed upon the following:

  Serviced To:



  NEW YORK CITY CORPORATION COUNSEL OFFICE


  100 CHURCH STREET 4TH FLOOR


  NEW YORK NEW YORK 10007



  To:



  NEW YORK CITY POLICE DEPARTMENT
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  To:

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  NEW YORK CITY DEPARTMENT OF CORRECTIONS


  75-20 ASTORIA BLVD



  EAST ELMHURST,NEW YORK




                                                                                      ILYA AZARYEV
                                                                                                          t




                                                                                           Pro'Sc Litigant




                                                                              ADDAM LAW FIRM LLP


                                                                               710 AVENUES SUITE A6


                                                                       BROOKLYN NEW YORK 11223


                                                             718.714.8202|Subpocna@Addamlawfirm.com
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                                                                               Cash:      $20.00

                                                                         Change Due:      $2.20
